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Case: 1:22-cv-04832 Document #: 31-2 Filed: 03/16/23 Page 1 of 6 PagelD #:193

FILED

2/10/2022 1:53 PM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOJSIS Y. MARTINEZ

COUNTY DEPARTMENT — DOMESTIC RELATIONS DIVIsIOg CE CLERK

OOK COUNTY, IL

2020D007036
IN RE THE MARRIAGE OF: ) Calendar, 97
) 16661409
PAUL KRILEY, )
Petitioner, )
-and- ) No.: 2020 D 7036
)
ALENA KRILEY, ) Cal.: 97
Respondent. )

RESPONSE TO MOTION FOR TEMPORARY SUPPORT AND BREACH OF
CONTRACT AND FOR CONTRIBUTION TO ATTORNEYS’ FEES AND COSTS

NOW COMES THE PETITIONER, PAUL KRILEY, by and through his attorneys,
THE TARADASH GROUP, P.C. and as and for his Response to Motion for Temporary
Support and Breach of Contract and for Contribution to Attorneys’ Fees and Costs (hereinafter
MOTION), respectfully states unto this [lonorable Court as follows:

COUNT I —- MOTION FOR TEMPORARY SUPPORT

1. That the Petitioner admits the allegations as set forth in paragraph one (1) of the
MOTION.

2. That the Petitioner admits the allegations as set forth in paragraph two (2) of the
MOTION.

3. That the Pctitioncr admits only that he is currently employed and has an cducation. That
the Petitioner denies the remaining allegations as set forth in paragraph three (3) of the
MOTION.

4. That the Petitoner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph four (4) of the MOTION and therefore denies the

same.

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That the Petitioner admits only that Respondent is an immigrant from Belarus. That the

PLAINTIFF’S
EXHIBIT

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Case: 1:22-cv-04832 Document #: 31-2 Filed: 03/16/23 Page 2 of 6 PagelD #:194

10.

11.

12.

Petitioner denies the allegation that the Respondent has limited English proficiency. That
the Petitioner admits that the Respondent has no education in the United States but
affirmatively states that she received an education in Belarus. That the Petitioner admits
only that the Respondent had stent implanted into her pelvis. That the Petitioner denies
the remaining allegations as set forth in paragraph five (5) of the MOTION.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph six (6) of the MOTION and therefore denies the
same.

That the Petitioner denies the allegations as set forth in paragraph seven (7) of the
MOTION.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph eight (8) of the MOTION and therefore denies the
same.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph nine (9) of the MOTION and therefore denies the
same.

That the Petitioner denies the allegations as set forth in paragraph ten (10).of the
MOTION.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph eleven (11) of the MOTION and therefore denies the
same.

That the Petitioner denies the allegations as set forth in paragraph twelve (12) of the

MOTION.
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Case: 1:22-cv-04832 Document #: 31-2 Filed: 03/16/23 Page 3 of 6 PagelD #:195

13.

That the Petitioner denies the allegations as set forth in paragraph thirteen (13) of the

MOTION.

WHEREFORE, PETITIONER, PAUL KRILEY, respectfully prays as follows:

A.

B.

14.

15.

17.

18.

19.

20.

Denying the Motion; and

For any such further and other relief that this Honorable Court deems just and equitable.
COUNT If —- MOTION FOR BREACH OF CONTRACT

1. No response necessary.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the

allegations as set forth in paragraph fourteen (14) of the MOTION and therefore denies

the same.

That the Petitioner admits the allegations as set forth in paragraph fifteen (15) of the

MOTION.

. That the Petitioner admits the allegations as set forth in paragraph sixteen (16) of the

MOTION.

That the Petitioner admits only that Paul and Alena have not lived together since
September 2020. That the Petitioner denies the remaining allegations as set forth in
paragraph seventeen (17) of the MOTION.

That the Petitioner admits only that the Respondent cites Bychina v. Astrakhantseve, 2021
lil. App.2d 200303 (2™ Dist. 2021) and denies the applicability in the instant matter.

That the Petitioner admits only that the Respondent cites Bychina v. Astrakhantseve, 2021
IL. App.2d 200303 (2™ Dist. 2021) and denies the applicability in the instant matter.

That the Petitioner admits only that the Respondent cites Bychina v. Astrakhantseve, 2021

Il. App.2d 200303 (2"4 Dist. 2021) and denies the applicability in the instant matter.
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Case: 1:22-cv-04832 Document #: 31-2 Filed: 03/16/23 Page 4 of 6 PagelD #:196

21. That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph twenty-one (21) of the MOTION and therefore
denies the same.

22. That the Petitioner denies the allegations as set forth in paragraph twenty-two (22) of the
MOTION.

WHEREFORE, PETITIONER, PAUL KRILEY, respectfully prays as follows:

A. Denying the Motion; and

B. For any such further and other relief that this Honorable Court deems just and equitable.

COUNT III —- MOTION FOR PRESPECTIVE FEES
1. No response necessary.

23. That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph twenty-three (23) of the MOTION and therefore
denies the same.

24. That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph twenty-four (24) of the MOTION and therefore
denies the same.

25. Petitioner lacks sufficient knowledge as to form a reasonable belief as to the allegations
as set forth in paragraph twenty-five (25) of the MOTION and therefore denies the same.

26. That the Petitioner denies the allegations as set forth in paragraph twenty-six (26) of the
MOTION. That the Petitioner affirmatively states that he has caused to be paid to The
Taradash Group, P.C. the sum of $15,750.00 and has a current outstanding balance of
$5,908.67.

27. That the Petitioner denies the allegations as set forth in paragraph twenty-seven (27) of
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Case: 1:22-cv-04832 Document #: 31-2 Filed: 03/16/23 Page 5 of 6 PagelD #:197

the MOTION.

28. That the Petitioner denies the allegations as set forth in paragraph twenty-eight (28) of the
MOTION.

29. That the Petitioner denies the allegations as set forth in paragraph twenty-nine (29) of the
MOTION.

30. That the Petitioner admits only that the Respondent attached an Exhibit to her Motion.

31. That the Petitioner admits only that the Respondent has completed her financial affidavit.

WHEREFORE, PETITIONER, PAUL KRILEY, respectfully prays as follows:

C. Denying the Motion; and

D. For any such further and other relief that this Honorable Court deems just and equitable.

THE TARADASH GROUP, P.C. Respectfully submitted,
Attorneys for Petitioner

180 N. LaSalle St. Stc. 3700
Chicago, IL 60601
312-775-1020

Atty. No.: 57943
meyer@chicagodivorceatty.com One of Petitiohgks Attorneys

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: THE TARADASH GROW iP, P. C.

> Attiomeys for Petitioner

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oe 3 312. 475, 54020.

